The record showed that this action was on a book account, a copy of which, as well as of the defendant's account against plaintiff, was sent up. The defendant not appearing, the justice gave judgment against him by default. He afterwards appeared and claimed a new trial by referees, which was granted, and the trial had. The record stated that the referees "appear, are sworn respectively, and proceed to the investigation of parties' accounts, c., and report in favor of plaintiff, for the sum of $45 91." Judgment rendered on the report for $45 91 debt and $2 50 costs.
The exception was, that the record did not show that the referees heard the cause upon the proofs, as well as upon the allegations of the parties; but the court said that this was sufficient.
                                                     Judgment affirmed.